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                                                                      2:19-cv-01483-PA-RAO


                                 x                                                 Anne Kielwasser

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03/02/20 227     Anderson Hearing & orders on motions in limine   x                                  x                 Daily




                                                      6/20/2023
